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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                 Plaintiff,               )                     4:12CR3059
                                          )
          v.                              )
                                          )
TEO VAN PHAN, NHU VAN PHAN,               )          MEMORANDUM AND ORDER
HOA VAN HUYNH, KIM NGUYEN,                )
TANG (JANNY) NGUYEN, THUY                 )
NGUYEN,                                   )
                                          )
                 Defendants.              )

     IT IS ORDERED:

     1)   The government’s motion, (filing no. 60), is granted, and the deadlien for disclosing
          Rule 16 discovery is extended to June 29, 2012.

     2)   The ends of justice served by granting the government’s motion to continue
          outweigh the interests of the public and the defendant in a speedy trial, and the
          additional time arising as a result of the granting of the motion, the time
          between June 15, 2012 and June 29, 2012, shall be deemed excludable time in
          any computation of time under the requirements of the Speedy Trial Act, for the
          reason that the parties require additional time to adequately prepare the case,
          taking into consideration due diligence of counsel, the novelty and complexity
          of the case, and the fact that the failure to grant additional time might result in
          a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

          June 20, 2012.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
